    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.173 Page 1 of 24




1         Raymond M. DiGuiseppe
          California State Bar No. 228457
2         The DiGuiseppe Law Firm, P.C.
          4320 Southport-Supply Road, Suite 300
3         Southport, NC 28461
          Tel.: 910-713-8804
4         Email: law.rmd@gmail.com
          Attorneys for Plaintiffs
5

6                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF CALIFORNIA
7

8         MICHELLE NGUYEN, et al, Plaintiffs               Case No. 3:20-cv-02470-WQH-WVG

9         vs.                                        PLAINTIFFS’ STATEMENT OF
                                                     MATERIAL FACTS IN SUPPORT
                                                     OF MOTION FOR SUMMARY
10        ROB BONTA, Attorney General of California, JUDGMENT
          et al, Defendants.
11

12

13

14              Plaintiffs submit the following statement of material facts (“SOMF”) in support

15        of their Motion for Summary Judgment. All materials referenced herein are either

16        already before the Court as part of its docket or are being lodged as attachments

17        contemporaneously with this Motion. On information and belief, counsel for

18        Defendants is in already possession of or readily has access to all the materials

19        referenced in this document and all other materials that will be lodged herewith.

20
                                                     1
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.174 Page 2 of 24




1            1. Defendants have enforced and are continuing to enforce California’s OGM

2         law.

3            Record Citations:
               • Stipulation of Facts (Ex. 1), p. 2
4              • Complaint (Dkt. No. 1) ¶¶ 18, 19, 73, 74, 75, 76, 77, 103
               • Answer (Dkt. No. 2) ¶¶ 18, 19, 103, 121, 128
5

6            2. Individual Plaintiffs (Nguyen, Boguski, Medina, Colletti, Phillips, and Prince)

7         are California residents and members of the Institutional Plaintiffs (Firearms Policy

8         Coalition, Inc., San Diego Gun Owners PAC, and Second Amendment Foundation).

9            Record Citations:
               • Stipulation of Facts (Ex. 1), p. 2
10             • Complaint (Dkt. No. 1) ¶¶ 7, 8, 9, 10, 11, 13, 73, 74, 75, 76, 77

11
             3. None of them is disqualified from owning or possessing firearms under federal
12
          or state law.
13
             Record Citations:
14             • Stipulation of Facts (Ex. 1), p. 2
               • Complaint (Dkt. No. 1) ¶¶ 73, 74, 75, 76, 77, 78
15

16           4. Institutional Plaintiffs bring this action on behalf their members and

17        supporters similarly situated to Individual Plaintiffs.

18           Record Citations:
               • Stipulation of Facts (Ex. 1), p. 2
19             • Complaint (Dkt. No. 1) ¶¶ 15, 16, 17

20
                                                     2
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.175 Page 3 of 24




1            5. Each Individual Plaintiff actively desires and intends to purchase two or more

2         handguns, two or more semiautomatic centerfire rifles, or a combination of two or

3         more of the same in a single transaction within a 30-day period from a licensed

4         dealer, and each would do so but for California’s OGM law.

5            Record Citations:
               • Stipulation of Facts (Ex. 1), p. 2
6              • Complaint (Dkt. No. 1) ¶¶ 73, 74, 75, 76, 77, 100, 121, 128

7
             6. Plaintiffs Prince and Phillips are licensed firearms dealers for Retailer
8
          Plaintiffs, North County Shooting Center Inc. (“NCSC”) and PWGG L.P.
9
          (“PWGG”), respectively.
10
             Record Citations:
11             • Stipulation of Facts (Ex. 1), p. 2
               • Complaint (Dkt. No. 1) ¶¶ 11, 13, 82, 83
12             • Answer (Dkt. No. 7) ¶¶ 11, 13, 82, 83

13
             7. Plaintiffs NCSC and PWGG are licensed by the Bureau of Alcohol, Tobacco,
14
          Firearms, and Explosives (“ATF”) as Federal Firearms Licensees (“FFL”).
15
             Record Citations:
16             • Stipulation of Facts (Ex. 1), p. 2
               • Complaint (Dkt. No. 1) ¶¶ 12, 14, 82, 83
17             • Answer (Dkt. No. 7) ¶¶ 11, 13, 82, 83

18
             8. Because of the OGM law, Retailer Plaintiffs are prevented from selling two
19
          or more handguns, two or more semiautomatic centerfire rifles, or a combination of
20
                                                   3
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.176 Page 4 of 24




1         two or more of the same in a single transaction within a 30-day period to individuals

2         not otherwise disqualified by federal or state law from owning or possessing

3         firearms.

4            Record Citations:
               • Stipulation of Facts (Ex. 1), p. 3
5              • Complaint (Dkt. No. 1) ¶¶ 86, 87, 88, 91, 93, 103
               • Answer (Dkt. No. 7) ¶¶ 103, 121, 128
6

7            9. The broad class of arms targeted under California’s OGM law—handguns and

8         semiautomatic centerfire rifles—are indisputably protected under the Second

9         Amendment.

10           Record Citations:
               • Complaint (Dkt. No. 1) ¶¶ 98, 114, 120, 121, 128, 132
11             • Answer (Dkt. No. 7) ¶¶ 98, 121, 128, 132
               • The above factual allegations are otherwise not subject to genuine or
12                reasonable dispute. Far Out Productions, Inc. v. Oskar, 247 F.3d 986, 992
                  (9th Cir. 2001) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-
13                49 (1986) (“An issue is ‘genuine’ only if there is sufficient evidence for a
                  reasonable fact finder to find for the non-moving party”).
14

15           10. Plaintiffs’ constitutional expert, Professor George Mocsary, “could find no

16        laws in the founding era limiting the quantity or frequency” and concluded that

17        instead, “it appears that the policy of the time embraced private collections of arms.”

18           Record Citations
               • Exhibit 2 (George Mocsary Expert Declaration), p. 4
19

20
                                                    4
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.177 Page 5 of 24




1            11.   More specifically, Mocsary found that “[t]he otherwise-legal purchase of

2         protected arms has been unregulated as to the quantity of firearms that may be

3         purchased within a given timeframe for practically all of American history.”

4            Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), p. 5
5

6            12.   Mocsary further found that “[t]ransacting in protected firearms free of

7         quantity-over-time restrictions remains a lawful Second Amendment activity in a

8         large majority of jurisdictions across the United States.”

9            Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), pp. 5-6
10

11           13.   As he explained, the first such regulation appeared in 1975, with a South

12        Carolina law restricting handgun sales to one per person per month, which was

13        repealed in 2004.

14           Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), p. 4
15

16           14.   Virginia passed a one-handgun-per-month law in 1993, repealed it in 2020,

17        and reenacted another one in 2020.

18           Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), pp. 4-5
19

20           15.   Maryland enacted a one-handgun-per-month law in 2003.
                                                    5
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.178 Page 6 of 24




1            Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), p. 5
2

3            16.   New Jersey restricted handgun purchases to one-per-month in 2008.

4            Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), p. 5
5

6            17.   The District of Columbia enacted a pistol registration requirement in 2008

7         (after Heller) that effectively limited them to one per month, although that was struck

8         down as unconstitutional in 2015.

9            Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), p. 5
10

11           18.   In his deposition, Mocsary reaffirmed his conclusions that there is “no

12        historical precedent” for OGM laws, which are instead “a very new thing.”

13           Record Citations:
               • Exhibit 3 (Deposition of George Mocsary), pp. 34, 37-40, 55-56, 58, 68-
14                69

15
             19.       As detailed in a publication the defense itself introduced, generally,
16
          “gun control laws were unknown to Founding Fathers.”
17
             Record Citations:
18             • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 263

19

20
                                                    6
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.179 Page 7 of 24




1            20.   “There was not a law on the books in any of the states which interfered with

2         the keeping or bearing of arms by free citizens, and this right was understood and

3         deemed fundamental despite the lack of a state bill of rights.”

4            Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 318
5

6            21.   The right of the general public to keep and bear arms was of the highest

7         order in civilized society at this time. “Newspaper attacks on the religious guarantees

8         and other matters were extreme and persistent, but the right to bear arms was not

9         once questioned.”

10           Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 268
11

12           22.   Instead, “it appears that having arms was manifestly an attribute of free

13        citizenship” during this period.

14           Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), pp. 285-286
15

16           23.   As one delegate to Pennsylvania’s constitutional convention put it in 1787,

17        “however wide and various the firearms of power may appear, they may all be traced

18        to one source, the people.”

19           Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 276
20
                                                    7
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.180 Page 8 of 24




1            24.   Consistent with a largely unregulated right of highest order in the scheme

2         of individual liberties, people commonly in the colonial states engaged in the

3         purchase and sale of multiple firearms in single or frequent transactions. “Symbolic

4         of the times, the following newspaper advertisement began to appear regularly:

5         ‘WANTED immediately, a quantity of good HORSE PISTOLS AND CARBINES,

6         for which ready money, and a liberal price, will be given . . . Has a quantity of

7         Muskets. . . to sell.’”

8            Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 266
9

10           25.   Another example of “the unquestioned freedom to have arms” was a sales

11        advertisement for “100 Pair Horsemens Pistols.”

12           Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 304
13

14           26.   For example, “Vermont’s founding fathers” “carried a gun and a brace [a

15        pair] of pistols on their persons as a common practice.”

16           Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.) at pp. 291-292
17             • A “brace of pistols” is a pair. See https://www.merriam-
                  webster.com/dictionary/brace (“brace” means “one of two” or a “pair”)
18

19           27.   “Pistols in the pocket and an arsenal at home were options available to every

20        free citizen” of Vermont.
                                                    8
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.181 Page 9 of 24




1            Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 295
2

3            28.   In 1796, Ira Allen, a general in the Vermont militia, was able to purchase

4         and ultimately distribute 20,000 muskets to the general population.

5            Record Citations:
               • Exhibit 4 (Halbrook Publication; Ex. 7 to Mocsary Depo.), p. 295
6

7            29.   The stated purpose of the original OGM law as enacted under Assembly

8         Bill No. 202 in 2000 was to “curtail the illegal gun market, disarm criminals, and

9         save lives by preventing multiple purchases of handguns through legitimate

10        channels,” on the rationale that “[p]reventing multiple purchases takes the profit out

11        of black market sales and puts gun traffickers and straw purchasers out of business.”

12           Record Citations:
               • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), p. 2
13

14           30.   More specifically, the stated goal of the law was “to stop one gun purchaser

15        from buying several firearms and transferring a firearm to another person who does

16        not have the legal ability to buy a gun him/herself,” in particular those who are

17        underage, have a disqualifying prior conviction, a mental disorder, or are not

18        residents.

19           Record Citations:
               • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), p. 2
20
                                                    9
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.182 Page 10 of 24




1            31. When the law was expanded to semiautomatic centerfire rifles effective July

2         of 2021 under Senate Bill No. 61, the Legislature stated that AB 202 had been

3         “intended to reduce the illegal flow of handguns by eliminating the opportunity to

4         sell guns from bulk purchases on the black market” and that applying this same law

5         to long guns “would be part of the solution in reducing gun violence.”

6            Record Citations:
               • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), p. 34
7

8            32. Throughout all relevant times, Defendants have implemented and enforced

9         a multitude of statutes, regulations, and policies that strictly regulate and criminalize

10        the acquisition, possession, and use of firearms by all prohibited persons, including

11        those who become prohibited after a lawful acquisition. See e.g., Cal. Penal Code §§

12        29800, 29805, 29815, 29825; 18 U.S.C §§ 922(b)(2), 922(d), 922(g).

13           Record Citations:
               • Complaint (Dkt. No. 1) ¶¶ 64, 65
14             • Answer (Dkt. No. 7) ¶¶ 65
               • The above factual allegations are otherwise not subject to genuine or
15                reasonable dispute. Far Out Productions, Inc. v. Oskar, 247 F.3d 986, 992
                  (9th Cir. 2001) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-
16                49 (1986) (“An issue is ‘genuine’ only if there is sufficient evidence for a
                  reasonable fact finder to find for the non-moving party”).
17

18           33.   Throughout all relevant times, Defendants have also implemented and

19        enforced a multitude of statutes, regulations, policies, and systems that collect,

20        maintain, and monitor identifying information of those who are currently prohibited
                                                     10
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.183 Page 11 of 24




1         persons, who lawfully acquire, sale, and transfer firearms, and who later become

2         prohibited persons, including, for example: Cal. Penal Code §§ 11101, 11105,

3         11106, 26150, 26185, 26195, 26225, 28220; the Dealer’s Record of Sale (DROS)

4         DROS Entry System (DES); the Armed Prohibited Persons System (APPS); Mental

5         Health Reporting System (MHRS); Mental Health Firearms Prohibition System

6         (MHFPS); Prohibited Applicant (PA); and many other such regulatory programs.

7            Record Citations:
               • https://des.doj.ca.gov/ (DROS DES)
8              • Complaint (Dkt No. 1) ¶¶ 46, 47, 49, 50, 51, 52, 53, 54, 55, 67, 68, 69
               • Answer (Dkt. No. 7) ¶¶ 46, 47, 49, 50, 51, 52, 53, 54, 55, 67, 68, 69
9              • Exhibit 6 (APPS Report; Ex. 11 to Klarevas Depo.), pp. 109-110
               • The above factual allegations are otherwise not subject to genuine or
10                reasonable dispute. Far Out Productions, Inc. v. Oskar, 247 F.3d 986, 992
                  (9th Cir. 2001) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-
11                49 (1986) (“An issue is ‘genuine’ only if there is sufficient evidence for a
                  reasonable fact finder to find for the non-moving party”).
12

13           34.   Through the APPS, DOJ agents regularly and readily “locate and disarm

14        prohibited persons,” “thereby preventing and reducing incidents of violent crime,”

15        with “daily manual queries of the databases that cross-reference the population of

16        known firearms owners against individuals who may have had a PTE [potentially

17        triggering events] within the past 24 hours,” such that “[n]ew individuals are added

18        daily, creating a constantly changing and growing dataset.”

19           Record Citations:
               • Exhibit 6 (APPS Report; Ex. 11 to Klarevas Depo.), pp. 88-89
20
                                                  11
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.184 Page 12 of 24




1            35.   “Cases are pursued until all investigative leads are exhausted.”

2            Record Citations:
               • Exhibit 6 (APPS Report; Ex. 11 to Klarevas Depo), p. 99
3

4            36. The legislative history of AB 202 and SB 61 recognized the existence of

5         these various schemes and how they already compel ordinary law-abiding citizens

6         to obtain special certification, pass a background check, wait ten days, and complete

7         a safe handling demonstration as preconditions to any lawful purchase.

8            Record Citations:
               • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), pp. 34-35, 109-
9                 110

10
             37.   It also recognized the myriad state and federal laws that specifically
11
          criminalize straw purchasing and illegal firearms trafficking.
12
             Record Citations:
13             • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), pp. 1-2, 12

14
             38.   State law separately “[p]rohibits the sale, loan, or transfer of a firearm to
15
          any person who is not the actual purchaser or transferee if the intent is to avoid the
16
          statutory requirements for lawful transfer,” and “[t]he Federal Gun Control Act
17
          forbids straw transactions” because it “prevents a person from purchasing guns in a
18
          state with lax laws and then returning to his or her state of residency.”
19
             Record Citations:
20             • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), p. 2
                                                    12
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.185 Page 13 of 24




1            39. Further, all federal licensees must report to ATF and all related state law

2         enforcement agencies all sales, transfers, or disposals of two or more handguns “at

3         one time or during any five consecutive business days,” and they must make this

4         report “not later than the close of business on the day that the multiple sale or other

5         disposition occurs.”

6            Record Citations:
               • 18 USC 923(g)(3)(A)
7              • Exhibit 7 (18 USC 923; Ex. 10 to Klarevas Depo.)
               • The above factual allegations are otherwise not subject to genuine or
8                 reasonable dispute. Far Out Productions, Inc. v. Oskar, 247 F.3d 986, 992
                  (9th Cir. 2001) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-
9                 49 (1986) (“An issue is ‘genuine’ only if there is sufficient evidence for a
                  reasonable fact finder to find for the non-moving party”).
10

11           40.   As the legislative history acknowledged, only the District of Columbia and

12        three other states—Virginia, Maryland, and New Jersey—have OGM laws, and they

13        target only handguns, not handguns and long guns like California does.

14           Record Citations:
               • Exhibit 2 (George Mocsary Expert Declaration), pp. 4-5
15             • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), pp. 53-54
               • The above factual allegations are otherwise not subject to genuine or
16                reasonable dispute. Far Out Productions, Inc. v. Oskar, 247 F.3d 986, 992
                  (9th Cir. 2001) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-
17                49 (1986) (“An issue is ‘genuine’ only if there is sufficient evidence for a
                  reasonable fact finder to find for the non-moving party”).
18

19           41.   What data the State did cite in discussing its claimed interests in the OGM

20        law concerned multiple firearms purchased in a single transaction or in “bulk” or
                                                    13
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.186 Page 14 of 24




1         data which otherwise included          all multiple-firearms purchases without

2         distinguishing multiple purchases over a 30-day period from the lot of transactions.

3            Record Citations:
               • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), pp. 56-57
4              • The above factual allegations are otherwise not subject to genuine or
                  reasonable dispute. Far Out Productions, Inc. v. Oskar, 247 F.3d 986, 992
5                 (9th Cir. 2001) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-
                  49 (1986) (“An issue is ‘genuine’ only if there is sufficient evidence for a
6                 reasonable fact finder to find for the non-moving party”).

7
             42. The defense’s expert, Louis Klarevas, also relied on data concerning
8
          multiple-firearms purchases in single or “bulk” transactions, on the same day, within
9
          a handful of days, or aggregated data concerning all forms and timing of multiple-
10
          firearms purchases without distinguishing such purchases over a 30-day period of
11
          time.
12
             Record Citations:
13             • Exhibit 8 (Expert Report of Louis Klarevas; Ex. 13 to Klarevas Depo.), pp.
                  6, 7-8, 17-18
14             • Exhibit 8 (Expert Report of Louis Klarevas; Ex. 13 to Klarevas Depo.), p.
                  16, relying on 2005 Koper Report (Exhibit __)
15             • Exhibit 9 (2005 Koper Report; Ex. 16 to Klarevas Depo.), pp. 753, 754,
                  761 (discussing aggregated data concerning “multiple sales” in general)
16             • Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), p. 17, relying
                  on 2014 Koper Report (Exhibit 10A & 10B)
17             • Exhibit 10A (2014 Koper Report; Ex. 17 to Klarevas Depo.), p. 285 (same)

18
             43.   The same is true of the data on which Joseph Bisbee, the defense’s other
19
          expert, relied because that concerned aggregate “multiple sales” data.
20
                                                   14
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.187 Page 15 of 24




1            Record Citations:
               • Exhibit 11 (Expert Report of Joseph Bisbee), pp. 4, 5, 8-9
2

3            44. In fact, one source on which Klarevas relied found that “handguns purchased

4         by the same individual within 30 days of another handgun purchase, but not on the

5         same day, were less likely to be traced.”

6            Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), pp.
7                 7-8, relying on pages 355 through 358 of the Wright Report (Exhibit __)
               • Exhibit 12 (Wright Report; Ex. 14 to Klarevas Depo.), pp. 356-357
8

9            45. Plaintiffs’ expert statistician, Carl Moody, calculated this percentage and

10        found that “a handgun acquired in a series of purchases over 30 days has a 38%

11        smaller likelihood of being a trace gun,” such that “only a tiny fraction of those (0.4

12        percent) became crime guns.”

13           Record Citations:
               • Exhibit 13 (Moody Expert Rebuttal; Ex. 6 to Moody Depo.), p. 10
14

15           46. This represents only 722 firearms out of a data set totaling more than

16        180,000 firearms.

17           Record Citations:
               • Exhibit 13 (Moody Expert Rebuttal; Ex. 6 to Moody Depo.), p. 10
18             • Exhibit 12 (Wright Report; Ex. 14 to Klarevas Depo.), p. 361
               • Exhibit 14 (Deposition of Louis Klarveas), pp. 160-162
19

20
                                                      15
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.188 Page 16 of 24




1            47.   Another source on which Klaveras relied even found a lesser risk in general

2         as between multiple-firearms sales and single firearm sales, specifically indicating

3         that “guns sold in multiple sales had a lower risk of being used in crime.”

4            Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), p.
5                 16, relying on 2005 Koper Report (Exhibit __)
               • Exhibit 9 (2005 Koper Report; Ex. 16 to Klarevas Depo.), p. 760
6

7            48.       That same source acknowledged while “there are indications” that

8         OGM laws “affect the interstate flow of guns,” “there is scant evidence they actually

9         reduce gun crime.”

10           Record Citations:
               • Exhibit 9 (2005 Koper Report; Ex. 16 to Klarevas Depo.), p. 754
11

12           49. Klarevas relied on a later study of the same researcher for the proposition

13        that “Maryland’s one-gun-a month provision reduced trafficking from Maryland into

14        Washington, D.C., via multiple sales.”

15           Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), p.
16                17, relying on 2014 Koper Report (Exhibit 10A & 10B)

17
             50. But that study was based on several factors unrelated to the potential effect
18
          of the “multiple-sale” factor, it only considered “multiple sales” in the aggregate to
19

20
                                                   16
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.189 Page 17 of 24




1         the extent that factor was considered, and even then it found only 3.2% of all the

2         firearms sold during the relevant period had a “chance” of becoming crime guns.

3            Record Citations:
               • Exhibit 10A (2014 Koper Report; Ex. 17 to Klarevas Depo.), pp. 285, 290
4

5            51. Further, the study ultimately found no “statistically significant” risk that

6         “guns would be at higher risk if sold in multiple sales and/or before the GVA”

7         (Maryland’s OGM law).

8            Record Citations:
               • Exhibit 10B (2014 Koper Report; Ex. 17 to Klarevas Depo.), p. 304
9

10           52. And it also agreed with the general conclusion in the Wright Report that

11        “guns purchased in same-day multiple sales were at greater risk of criminal use than

12        those purchased in other 30-day multiple sales.”

13           Record Citations:
               • Exhibit 10A (2014 Koper Report; Ex. 17 to Klarevas Depo.), p. 298
14

15           53. Klarevas cited another study for the proposition that “Maryland’s OGM law

16        was associated with a consistent 10-11% decrease in the state firearm homicide rate.”

17           Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), p.
18                19, relying on page 409 of the Webster Report (Exhibit 15)
               • Exhibit 15 (Webster Report; Ex. 18 to Klarevas Depo.), pp. 409, 411
19             • Exhibit 13 (Moody Expert Rebuttal; Ex. 6 to Moody Depo.), pp. 5-6

20
                                                   17
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.190 Page 18 of 24




1            54. However, that study was focused the effect of banning “Saturday Night

2         Special” handguns, it did not consider the potential impact of the other major

3         firearms regulations simultaneously instituted by that multi-faceted law, and the

4         results were only “preliminary” as it was.

5            Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), p.
6                 19, relying on page 409 of the Webster Report (Exhibit 15)
               • Exhibit 15 (Webster Report; Ex. 18 to Klarevas Depo.), pp. 409, 411
7              • Exhibit 13 (Moody Expert Rebuttal; Ex. 6 to Moody Depo.), pp. 5-6

8
             55. Klarevas conceded that other data on which he relied was not “primarily
9
          focused on assessing the effects of OGM laws” and, in any event, yielded findings
10
          that “were not statistically significant” in showing a link between OGM laws and
11
          rates of violence.
12
             Record Citations:
13             • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), pp.
                  17-18, 20
14

15           56. He further conceded relying on an unpublished report that employed “an

16        unorthodox and flawed methodological approach” to reach an “unpersuasive[]”

17        explanation.

18           Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), p.
19                20, n. 50
               • Exhibit 13 (Moody Expert Rebuttal; Ex. 6 to Moody Depo.), pp. 4-5
20             • Exhibit 16 (Deposition of Carl Moody), pp. 161, 163
                                                   18
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.191 Page 19 of 24




1            57.   Klarevas cited an older report that Moody had co-authored, to “suggest”

2         that OGM laws “may” reduce murder rates.

3            Record Citations:
               • Exhibit 8 (Expert Report of Louis Klarevas; Ex. 13 to Klarevas Depo.), p.
4                 20

5
             58.   However, through his rebuttal report and deposition testimony, Moody has
6
          explained in detail that this report does not support any reliable connection between
7
          OGMs and murder rates.
8
             Record Citations:
9              • Exhibit 13 (Moody Expert Rebuttal; Ex. 6 to Moody Depo.), pp. 2-4
               • Exhibit 16 (Deposition of Carl Moody), pp. 56, 154-160, 166
10

11           59.   Klarevas claimed that a “primary policy objective” was to “reduce

12        opportunities” for “potential active shooters to amass multiple firearms in a short

13        amount of time that they can then use to perpetrate a mass murder.”

14           Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), pp.
15                8-9

16
             60.   However, the sole reference to a mass shooting in the entire record is an
17
          argument in support of SB 61 from the Ventura County Board of Supervisors, which
18
          referenced one local mass shooting in 2018.
19
             Record Citations:
20             • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), pp. 37, 42
                                                   19
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.192 Page 20 of 24




1            61.   And there is no indication that the shooter used multiple firearms—much

2         less multiple firearms acquired within a 30-day period.

3            Record Citations:
               • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.), pp. 37, 42
4

5            62.   Similarly, Klarevas’s expert reports neither claim nor establish any causal

6         link between the number or frequency of firearm purchases and the ability to, or the

7         likelihood that a person will, carry out a mass shooting.

8            Record Citations:
               • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), pp.
9                 8-9
               • Exhibit 17 (Klarevas Expert Rebuttal Report), p. 12
10

11           63.   Klarevas conceded as much in his deposition and further acknowledged that

12        “a mass shooter or a mass shooting can certainly be perpetrated with a single

13        firearm.”

14           Record Citations:
               • Exhibit 14 (Deposition of Louis Klarevas), pp. 90-91, 199-201
15

16           64.   He also conceded in his report that “no studies have assessed this

17        relationship directly.”

18           Record Citations:
               • Exhibit 8 (Expert Report of Louis Klarevas; Ex. 13 to Klarevas Depo.), pp.
19                22-23

20
                                                   20
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.193 Page 21 of 24




1            65.   Moody conducted his own statistical analyses, using multiple standard

2         methods, to assess for any statistically meaningful impact on murder or firearm

3         homicide rates in California, and he found none as to either rate.

4            Record Citations:
               • Exhibit 18 (Expert Report of Carl Moody; Ex. 1 to Moody Depo.), pp. 2-
5                 3, 5-8, 11-16
               • Exhibit 13 (Moody Expert Rebuttal; Ex. 6 to Moody Depo.), pp. 8, 12-13
6

7            66.   In fact, Moody has “been unable to find a single study that links OGM laws

8         to violence reduction in the states that enacted such laws.”

9            Record Citations:
               • Exhibit 18 (Expert Report of Carl Moody; Ex. 1 to Moody Depo.), p. 2
10

11           67.   Moody also found no evidence of any impact on the public safety of

12        California by virtue of its attempt to regulate straw purchasing through the OGM

13        law.

14           Record Citations:
               • Exhibit 18 (Expert Report of Carl Moody; Ex. 1 to Moody Depo.), pp. 2-3
15

16           68.   Moody reaffirmed his conclusions and opinions in his deposition with

17        further details and justifications.

18           Record Citations:
               • Exhibit 16 (Deposition of Carl Moody), pp. 9-10, 39-40, 50, 53, 55, 71-72,
19                85-87, 89-93, 106, 119, 145-147, 152-153

20
                                                   21
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.194 Page 22 of 24




1            69.   Indeed, their own expert, Klarevas, conceded in his deposition that there is

2         no evidence “to show that a five-day or a seven-day or a ten-day is not alone as

3         effective as a 30-day” limitation in meeting the claimed justifications behind

4         California’s OGM law.

5            Record Citations:
               • Exhibit 14 (Deposition of Klarveas), p. 190
6

7            70.   The legislative record frequently notes the existence of various

8         “exceptions” and “exemptions” to the OGM law, but in none of those instances does

9         it provide an explanation or supporting justification for them.

10           Record Citations:
               • Exhibit 5 (Legislative History; Ex. 9 to Klarevas Depo.) at pp. 13, 14, 20,
11                21, 28, 33, 34, 37, 39, 40, 42, 45, 46, 50, 52, 61, 62, 71, 72, 75, 79, 80

12
             71.   For his part, Klarevas simply says “[b]ased on my review of the relevant
13
          literature and data, I came across no evidence that would lead me to alter my
14
          conclusions in light of California’s exemptions,” offering no supporting reasons or
15
          rationale for their existence.
16
             Record Citations:
17             • Exhibit 8 (Expert Report of Luis Klarevas; Ex. 13 to Klarevas Depo.), p.
                  23, n. 55
18

19

20
                                                   22
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.195 Page 23 of 24




1            72. When pressed on this point during his deposition, Klarevas said he could

2         “imagine that part of what was the rationale behind” exemption for the movie

3         industry was that this industry provides an important economic benefit for the State.

4            Record Citations:
               • Exhibit 14 (Deposition of Louis Klarevas), pp. 205-207
5

6            73.   Klarevas further “imagine[d]” that “there are protocols” “for how these

7         weapons are supposed to be handled and stored” by those in the movie industry.

8            Record Citations:
               • Exhibit 14 (Deposition of Louis Klarevas), p. 209
9

10           74.   Of course, as he had to admit, law-abiding citizens have to follow a

11        multitude of such “protocols” too.

12           Record Citations:
               • Exhibit 14 (Deposition of Louis Klarevas), pp. 209-210
13

14           75.   With no evidence or further explanation, Bisbee says, “many of these

15        exempt entities have rarely, if ever, been involved in the criminal misuse of firearms

16        purchased as part of a multiple sale.”

17           Record Citations:
             • Exhibit 11 (Expert Report of Joseph Bisbee), p. 9
18

19

20
                                                   23
21

22
    Case 3:20-cv-02470-WQH-MDD Document 23-2 Filed 04/08/22 PageID.196 Page 24 of 24




1         Respectfully submitted April 8, 2022,
                                                  /s/ Raymond M. DiGuiseppe
2                                                 Raymond M. DiGuiseppe
                                                  The DiGuiseppe Law Firm, P.C.
3                                                 4320 Southport-Supply Road, Suite 300
                                                  Southport, NC 28461
4                                                 Tel.: 910-713-8804
                                                  Email: law.rmd@gmail.com
5                                                 Attorney for Plaintiffs

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
                                                   24
21

22
